                     Case 4:07-cr-00317-JM Document 924 Filed 09/23/13 Page 1 of 2
 A0245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1

                                                                                                                   EASTERN DISTRICT ARKANSAS

                                      UNITED STATES DISTRICT COURT                                                      SEP 2£ 2013
                                                   EASTERN DISTRICT OF ARKANSA                            JAMES
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Cas~y: _ ___,~~"'---<IT---ff--1-~~~~
                             v.                                         (For Revocation of Probation or Supervised Release)
            KEVIN MONROE HUTSON

                                                                        Case No. 4:07cr00317-18 JMM
                                                                        USM No. 25362-009
                                                                         Chris Tarver
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General and Special 3           of the term of supervision.
0   was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                           Nature of Violation                                   Violation Ended
General                           Failure to refrain from committing another crime.                            07/11/2013

Special3                          Failure to attend mental health counseling                                   05!2l/2013




       The defendant is sentenced as provided in pages 2 through _ __;;2;;..__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8330                     09/23/2013
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:          1980

City and State of Defendant's Residence:
                                                                           ~VV\~
UNAVAILABLE
                                                                         JAMES M. MOODY                               U.S. District Judge
                                                                                              Name and Title of Judge

                                                                        09/23/2013
                                                                                                        Date
                      Case 4:07-cr-00317-JM Document 924 Filed 09/23/13 Page 2 of 2
 AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment
                                                                                                 Judgment- Page   2     of       2
 DEFENDANT: KEVIN MONROE HUTSON
 CASE NUMBER: 4:07cr00317-18 JMM


                                                                IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
TIME SERVED




    0    The court makes the following recommendations to the Bureau of Prisons:




    0   The defendant is remanded to the custody of the United States Marshal.

    0   The defendant shall surrender to the United States Marshal for this district:
         0    at  - - - - - - - - - 0 a.m.                        0     p~m.    on
         0    as notified by the United States Marshal.

    0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        0     before 2 p.m. on
        0     as notified by the United States Marshal.
        0     as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

 I have executed this judgment as follows:




        Defendant delivered on                                                       to

 at - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                               By
                                                                                          DEPUTY UNITED STATES MARSHAL
